MANDATE
                  CaseCase 22-629, Document
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                                  UNITED STATES COURT OF APPEALS
                                             FOR THE
                                          SECOND CIRCUIT
                                                                                                   Jul 20 2022
             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     16th day of June, two thousand twenty-two.

     Before:     John M. Walker, Jr.,
                 Denny Chin,
                        Circuit Judge,
                 John F. Keenan,
                        District Judge. *
     ________________________________

         In Re: Sarah Palin
         ---------------------------                   ORDER

         Sarah Palin,                                  Docket No. 22-629

                        Petitioner,

         v.

         The New York Times Company, James
         Bennett,

                   Respondents.
         ________________________________

             Petitioner Sarah Palin petitions for a writ of mandamus. Upon due consideration, it is
     hereby ORDERED that the petition is DENIED because mandamus relief is not warranted under
     the present circumstances. See Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380–81 (2004).
     However, denial of the petition is without prejudice to the issues presented in the petition being
     addressed in Petitioner’s pending appeal, which will be assigned to a new panel in the ordinary
     course.

                                                         For the Court:
                                                         Catherine O’Hagan Wolfe,
                                                         Clerk of Court




     *
      Judge John F. Keenan, of the United States District Court for the Southern District of New
     York, sitting by designation.


MANDATE ISSUED ON 07/20/2022
